
*1126OPINION.
Siefkin:
As we construe the transaction set out in the above findings each of the three petitioners parted with a one-fourth interest in assets costing $75,000 or $18,750 each, and received (1) a twelfth interest (one-third of Miller’s one-fourth interest) in the remaining assets of the former partnership; (2) a one-third interest in $15,000 cash paid by Millar; arid (3) a one-third interest in a possible right to receive $4,818.94 (depending upon a future event *1127which did not happen). We adopt the valuation placed by the parties upon Miller’s interest. Based upon such value the net assets of the partnership were $180,724.24.
The assets of the partnership excluding the assets sold, were thus of a value of $120,543.18, assuming that the consideration paid by Miller for the contracts was their value. Upon such basis each petitioner, at the time of the transfer, received an interest in property worth $10,045.26, cash of $5,000 and the possibility of getting $1,606.31 more. We, therefore, hold that in 1922, when the contingency governing the last item was still undetermined, each petitioner had sustained a loss of $2,098.43 which was deductible in that year. Until it was determined that each would not receive an additional payment of $1,606.31 that portion is not deductible.
Reviewed by the Board.
Judgment will be entered on 15 days’ notice, v/nder Rule 50.
